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AO 240 (Rev. 01/09) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

for the
District of North Dakota
RICHARD ARJUN KAUL, M.D. )
Plaintiff )
v. ) Civil Action No.
»AL BOARD/JAMES PAUL OETKEN/NYS ATTORNEY GI )
Defendant )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. [f incarcerated. I am being held at: .
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

2. Ifnot incarcerated. If 1am employed, my employer’s name and address are:
HAVE NOT BEEN EMPLOYED SINCE APRIL 2012

My take-home pay or wages are: $ 0.00 per (specify pay period)

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes No
(b) Rent payments, interest, or dividends O Yes % No
(c) Pension, annuity, or life insurance payments O Yes No
(d) Disability, or worker’s compensation payments O Yes No
(e) Gifts, or inheritances Mf Yes Ol No
(f) Any other sources O Yes No

Ifyou answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the Suture.

GIFTS - FAMILY AND FRIENDS HAVE PROVIDED ME WITH FREE ACCOMMODATION, AND AN AVERAGE
MONTHLY STIPEND OF BETWEEN $400 TO $600 FOR FOOD AND TRANSPORTATION.
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4. Amount of money that I have in cash or in a checking or savings account: $

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value):

NONE

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):

TRANSPORTATION EXPENSES OF APPROXIMATELY $200.

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

MY TWO CHILDREN ARE NOW 20 AND 22, BUT SINCE 2012 | HAVE, BECAUSE OF MY POVERTY STATUS, NOT
BEEN ABLE TO PAY CHILD SUPPORT AND OR ALIMONY TO MY EX-WIFE. THEY WERE 7 AND 9 WHEN THE
WITHIN ILLEGAL MEDICAL LICENSE REVOCATION INJURY WAS CAUSED. AS A CONSEQUENCE OF THIS AND
OTHER VIOLATIONS | LOST EVERYTHING, MY LIVELIHOOD, MY MEDICAL PRACTICE, MY PROPERTIES, MY
CAR AND SUSTAINED MANY OTHER ECONOMIC INJURIES AND INJURIES TO MY
LIFE/LIBERTY/PROPERTY/REPUTATION.

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

| OWE MY EX-WIFE ALMOST $2 MILLION IN OUTSTANDING CHILD SUPPORT/ALIMONY AND THERE ARE
MULTI-MILLION DOLLAR JUDGMENTS THAT STEMMED FROM THE ILLEGAL LICENSE REVOCATION.

Declaration: 1 declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

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Date: 06/16/2025 Cy

Applicant’s signature

RICHARD ARJUN KAUL, MD

Printed name

